 Case 2:21-cv-04758-JVS-JDE Document 46 Filed 04/04/22 Page 1 of 4 Page ID #:2051




 1   Tianyu Ju, Esq.
 2   Glacier Law LLP
     9660 Flair Dr., Suite 328
 3   El Monte, CA 91731
 4   Tel.:(626)727-8666
     Fax: (626)727-9666
 5   Email: iris.ju@glacier.law
 6   Counsel for Plaintiff
     Guangzhou Yucheng Trading Co., Ltd.
 7
 8                        UNITED STATES DISTRICT COURT
 9                  FOR THE CENTRAL DISTRICT OF CALIFORNIA
10
11   GUANGZHOU YUCHENG TRADING                    )   Case No. 2:21-cv-04758-JVS-JDE
     CO., LTD., a foreign limited liability       )
12                                                )
     company,                                     )   JOINT STIPULATION CONTINUING
13                                                )   HEARING DATE
                                                  )
14        Plaintiff/Counterclaim Defendant,       )
                                                  )
15                   v.                           )
                                                  )   1. Hearing Date: April 7, 2022
16   DBEST PRODUCTS, INC., a California           )   2. New Hearing Date: April 14, 2022
                                                  )
17   corporation,                                 )
                                                  )
18   Defendant/ Counterclaim Plaintiff.           )
                                                  )
19                                                )
                                                  )
20
21         Plaintiff Guangzhou Yucheng Trading Co., Ltd. (“Plaintiff”) and Defendant
22   dbest products, Inc (“Defendant”), together the “Parties”, through undersigned
23   counsel of record hereby stipulate to continue hearing date. In support thereof, the
24   Parties state as follows:
25         WHEREAS, on June 10, 2021, Plaintiff filed Case No. 2:21-cv-04758-JVS-
26   JDE against Defendant. (Dkt. 1).
27
28

                                                -1-
                                        JOINT STIPULATION
 Case 2:21-cv-04758-JVS-JDE Document 46 Filed 04/04/22 Page 2 of 4 Page ID #:2052




 1         WHEREAS, on March 14, 2022, the Parties filed Joint Stipulation under
 2   Local Rule 37-2 setting the hearing for Defendant’s Motion to Compel and for
 3   Sanctions to April 7, 2022. (Dkt. 33).
 4         WHEREAS, on March 30, 2022 and April 1, 2022, Plaintiff filed the Request
 5   for the Substitution of Attorney (Dkt. 42 & 44), which was granted on April 1, 2022
 6   (Dkt. 45).
 7         WHEREAS, due to the scheduling conflict of the newly retained attorney on
 8   April 7, 2022, Plaintiff has requested, and Defendant has agreed to, continue the
 9   Hearing to April 14, 2022.
10         IT IS HEREBY STIPULATED AND AGREED, and the Parties request, the
11   Court enter the following schedule: For the Hearing on Defendant’s Motion to
12   Compel Responses to Discovery and Sanctions set to April 14, 2022.
13
14   DATED: April 4, 2022                     Respectfully Submitted,
15
16
17                                            /s/ Ehab M. Samuel
                                              Ehab M. Samuel (SBN 228296)
18                                            esamuel@hdmnlaw.com
19                                            David A. Randall (SBN 156722)
                                              dave@hdmnlaw.com
20                                            Sepehr Daghighian (SBN 239349)
21                                            sd@hdmnlaw.com
22                                            HACKER DAGHIGHIAN MARTINO &
                                              NOVAK P.C.
23                                            10900 Wilshire Blvd., Suite 300
24                                            Los Angeles, CA 90024
                                              Tel.: (310) 887-1333
25                                            Fax: (310) 887-1334
26                                            Attorney for Defendant
27                                            dbest products, Inc
28

                                              -2-
                                      JOINT STIPULATION
 Case 2:21-cv-04758-JVS-JDE Document 46 Filed 04/04/22 Page 3 of 4 Page ID #:2053




 1
 2                                     GLACIER LAW LLP
 3
                                        /s/ Tianyu Ju
 4                                     Tianyu Ju (SBN 323817)
 5                                     9660 Flair Dr., Suite 328
                                       El Monte, California 91731
 6                                     Telephone: 312.448.7772
 7                                     Facsimile: 312.801.4587
                                       Email: iris.ju@glacier.law
 8
                                       Attorney for Plaintiff
 9                                     Guangzhou Yucheng Trading Co., Ltd.
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

                                         -3-
                                 JOINT STIPULATION
 Case 2:21-cv-04758-JVS-JDE Document 46 Filed 04/04/22 Page 4 of 4 Page ID #:2054




 1               Certification of Compliance with C.D. Cal. L.R. 5-4.3.4
 2         I hereby certify that pursuant to C.D. Cal. L.R. 5-4.3.4, I have obtained the
 3   authorization from the above signatories representing Defendant to file the above-
 4   referenced document, and that the above signatories concur in the filing’s content.
 5         I certify under penalty of perjury under the laws of the United States of
 6   America that the foregoing is true and correct. Executed on April 4, 2022.
 7
                                             /s/ Tianyu Ju
 8                                           Tianyu Ju
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

                                              -4-
                                      JOINT STIPULATION
